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                                        March 2, 2023
VIA CM/ECF
The Honorable John F. Docherty
United States Magistrate Judge
United States District Court

        Re:    Smartmatic USA Corp. et al. v. Lindell et al.
               Case No. 22-cv-98 (WMW/JFD)

Dear Judge Docherty:

This letter states Defendants’ response to the Court’s order to submit
proposals for “a deadline for substantial completion of document discovery.”
ECF No. 101.

As the Court is aware, the amount of electronically stored information in this
case is substantial, and the parties have both engaged in rolling productions
to keep discovery progressing. At the recent hearing, Defendants proposed a
date in late March for the parties to substantially complete their production of
documents consisting of e-mails or documents attached to e-mails.
Defendants are agreeable to April 7, 2023, the date proposed by Plaintiffs,
for substantial completion of that portion of discovery.
                                                                                   ANDREW D. PARKER
Defendants are aware of at least the possibility of responsive electronically      CHRISTOPHER M. DANIELS
stored information on at least one social media account and a corporate            JESSE H. KIBORT
server, which may require time beyond that date to fully search for and            ELIZABETH S. WRIGHT
review potentially responsive documents. Consequently, Defendants                  ALEC J. BECK
propose a substantial completion date of no later than April 21, 2023, for         LORI A. JOHNSON
non-email electronically stored documents.                                         MATTHEW R. ESLICK
                                                                                   JOSEPH A. PULL
Discovery closes on June 30, 2023. Defendants anticipate serving                   RYAN P. MALONE
additional document requests upon Plaintiffs. Defendants propose that any          JORDON C. GREENLEE
Order by the Court regarding the parties’ proposed deadlines exclude               ABRAHAM S. KAPLAN
productions responsive to any new requests to avoid unnecessary                    GREGORY N. ARENSON
curtailment of the current discovery deadline.                                     REGINALD W. SNELL


                                          Sincerely,                               FREDERICK C. BROWN
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